       Case 4:06-cr-00043-BRW           Document 129         Filed 02/25/09   Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                     4:06CR00043-02-WRW

KENNETH KENITA NOLEN

                                              ORDER

       Pending is Defendant’s Pro Se Motion for Disclosure of All Exculpatory Portions of

Grand Jury Transcripts (Doc. No. 127). The Prosecution has responded (Doc. No. 128). For the

reasons set out below, Defendant’s Motion is DENIED.

       Defendant asks the Court to disclose parts of the grand jury testimony that may exculpate

Defendant and help Defendant in preparing his 2255 motion.1 Defendant is concerned that the

Prosecution withheld from the grand jury a statement from a co-defendant who purportedly

accepted full and total responsibility for the alleged drug offense.2

       Based on the Prosecution’s Response, it appears that the “alleged exculpatory statement

that Defendant refers to was disclosed to and contemplated by the grand jury before it returned

the verdict.”3 It also appears that Defendant’s former co-defendant entered into a plea agreement

with the government, and testified during Defendant’s trial; Defendant had the opportunity

during his trial to cross examine his former co-defendant about the alleged exculpatory

statements.4


       1
        Doc. No. 127.
       2
        Id.
       3
        Doc. No. 128.
       4
        Id.

                                                  1
      Case 4:06-cr-00043-BRW            Document 129        Filed 02/25/09      Page 2 of 2




       While Rule 6 of the Federal Rules of Criminal Procedure generally protects the secrecy

of grand jury proceedings, a court may, in limited circumstances, authorize disclosure of grand

jury testimony5 if the party seeking disclosure has shown a “particularized need” for the

information.6 In United States v. Haire, the party seeking disclosure had received transcripts of

the grand jury testimony of witnesses who testified at trial, and had the chance to cross-examine

those witnesses.7

       Here, the prosecution maintains that the grand jury considered the alleged exculpatory

statement in its deliberations. And, as in Haire, Defendant had the opportunity at trial to cross

examine his co-defendant, as well as the law enforcement officials. Thus, Defendant has not

shown a particularized need for the disclosure of the grand jury testimony. Accordingly,

Defendant’s Motion is DENIED.

       IT IS SO ORDERED this 25th day of February 2009.



                                                            /s/Wm. R. Wilson, Jr.
                                                      UNITED STATES DISTRICT JUDGE




       5
        Fed. R. Crim. P. 6(e)(3)(E).
       6
        See United States v. Sileven, 985 F.2d 962, 965 (8th Cir. 1993).
       7
        United States v. Haire, 103 F.3d 697, 699 (8th Cir. 1996).

                                                 2
